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purpose ofm1t1atmg the c1vi      et sheet (SE.E INSTRUrTIONSUN NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
Robert Tate                                                                                                                                                                                                             L, SIGNAL
                                                                                                                                                                                                                         y
    {b)   County of Residence ofF1rst Listed Plamtlff                                                                 County of Residence of First Listed Defendant
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                                                                                                                      1\/OTE    IN LAND COJ\.'DEMNA 11ON CASES, t:S
                                                                                                                                THE TRACT OF LAND 11'.VOL Vf.D


    ( C) Attorneys (} .,rm Name.     Address. and I elephone Nu111ber)                                                Attorneys (If Known)
Palnck Flanigan, Esquire Law Office of Patrick Flanigan, P O Box 42,
Swarthmore, PA 19081-0042 Tel 484-904-7795


                                                                                                         HJ. CITIZENSHIP OF PRJ'.'i'CIPAL PARTlES(Piacean                                            X mOneBoxforPlamhfl
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                                                  Interference and retaliation
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     COMPLAINT:           t:NDER RULE 23, F RCv P                                                                150,000.00
VIII. RELATED CASE(S)
                        {See tnstruc/fons)
      IF A'.'i'Y                           JUDGE                                                                                                        DOCKET 'Nl:MBER
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10/28/2019                                                                       /Patrick Flanigan E-Signature Validation Code: PFF8163

    llliCEIPT #                     AMOLNT                                         APPL YING IFP                                  JL'DGE                                       MAG Jt:DGE
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                             Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 2 of 18
                                                         - - - - - ~ E D STATES DISTRICT COt:RT
                                                           FOR THE'i:ASTER."li DISTRICT Of' PENNSYLVA"lilA ·
                                                                           t
                                                                                 DESIGNATION FORM


Address of Plaintiff:
                                        I~
                      (to be used by counf

                                        t\
                                                             plamtzff to tnd1:ate the category of the case for the purpose of assignment to the appropriate calendar)

                                                                          ~15 East 23rd Street, Chester, PA 19013
                                  -          -               --          ~              --           --- -           -- --                -   -- --
Address ofDefJ?utt:-~=-·'"·~··~1 •· ~'-                 .~   r•:-~71b~itty Hawk Avenu~hiladelphia, PA 192.2_2
Place of Accident, Incident or Transaction:                                     2100 Kitty Hawk Avenue, Philadelphia, PA 19112


RELATED CASE, IF ANY:             ti/
Case Number_____                __/,+                                   Judge - ~
                                                                                     .u~                                            Date Termmated:
                                                                                                                                                         ,NIA-
                                                                                                 -        --
Civil cases are deemed related when Yes is answered to any of the following questions

I.     Is this case related to property mcluded m an earlier numbered suit pendmg or within one year                                  YesD                   No[l]
       previously termmated action in this court?

2      Does this case involve the same issue of fact or grow out of the same transaction as a pnor smt                                YesD                   No[l]
       pendmg or withm one year previously termmated action m this court?

3.     Does this case mvolve the validity or mfrmgement of a patent already m suit or any earlier                                     YesO                    No[l]
       numbered case pendmg or withm one year previously termmated action of this court?

4      Is this case a second or successive habeas corpus, social secunty appeal, or pro se civil rights                               YesD                   No [ l ]
       case filed by the same indlVldual?

I certify that, to my knowledge, the wtthm case                                        related to any case now pending or within one year previously termmated action m
this court except as noted above
DATE        10/28/2019                                                                                                                               PA 92794
                                                                                                                                                 Attorney ID   #   (if applicable)


CIVIL: (Place a ✓ in one category only)

A.           Federal Question Cases:                                                                 B.   Diversity Jurisdiction Cases:

01            Indemmty Contract, Marme Contract, and All Other Contracts                             0    1.   Insurance Contract and Other Contracts
0      2.     FELA                                                                                   0    2    Airplane Personal Injury
03            Jones Act-Personal Injury                                                              0    3.   Assault, Defamat10n
0      4      Antitrust                                                                              0    4.   Marme Personal InJury
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0             Habeas Corpus                                                                          0    8    Products Liab1hty Asbestos
              Securities Act( s) Cases                                                               0    9    All other Diversity Cases
              Social Security Review Cases                                                                     (Please specify) _         _    _ __
              All other Federal Question Cases
              (Please specify) .    FMLA, 2~ $ C~2f)01 et seq



                                                                                  ARBITRATION CERTIFICATION
                                                        (The effect of this certificatzon 1s to remove the case from ehg1b1ltty for arbitration)

                   trick Flanigan, Esquire                       _, counsel of record or pro se plamliff, do hereby certify

              P rsuant to Local Civil Rule 53 .2, § 3(c) (2), that to the best ofmy knowledge and behef. the damages recoverable m this civil action case
              e ceed the sum of $150,000 00 exclusive of interest and costs
                                                                                                                                                      \OCT 29 2019·

DATE                                                                                                                                                PA 92794
                                                                                                                                                Attorney ID    # (if applicable)

NOTE A tnal de novo will be a tnal by Jury only 1fthere has been compliance with FR C P 38

Ctv 609 f5/20i8J
                   Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 3 of 18



  '                 \'            IN THE UNITED STATES DISTRJCT COURT
  -                  ~         FOR THE EASTER~ DISTRJCT OF PE~~SYL VANIA

l' ~           .     l B_,    CASE~AGE'.VIENTTRACKDESIGNATIONFORM
\._ R.ob(.t-+                 T~~    ..                 :                           CIVIL ACTION


       pk", \lj sh; r:t :'l'J1            e-T "'"1-                                                   5078
      In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
      plaintiff shall complete a Case Management Track Designation Form mall civil cases at the time of
      filing the complaint and serve a copy on all defendants. (See § I :03 of the plan set forth on the reverse
      side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
      designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
      the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
      to which that defendant believes the case should be assigned.

       SELECT ONE OF THE FOLLOWING CASE MA.1'JAGEMENT TRACKS:

       (a) Habeas Corpus -- Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

       (b) Social Security - Cases requesting review of a decision of the Secretary ofllealth
           and Human Services denying plaintiff Social Security Benefits                                    ( )

       (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

       (d) Asbestos - Cases involving claims for personal injury or property damage from
            exposure to asbestos.                                                                           ( )

       (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
           commonly referred to as complex and that need special or intense management by
           the court. (See reverse side of this form for a detailed explanation of special
           management cases.)

       (f) Standard Management - Cases that do not fall into any one of the other tracks.



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       (Civ. 660) 10/02




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              Law df~ce of Patrick Flanigan
              By: Patrick Flanigan
              PA Attorney No.: 92794
              P.O. Box 42, Swarthmore, PA l 9081-0042
                                                                           I
                                                                                                        Attorney for Plaintiff



              Tel: (484) 904-7795 Email: Pat@lawofficepf.com

                                        I~ THE U:SITED STATES DISTRICT COURT
                                FOR THE EASTER.~ DISTRICT OF PEN~SYLV A.~IA (Philadelphia)

              ROBERT TATE                                                           §
              Chester, PA 19013                                                     §
                            Plaintiff,                                              §    CIVIL ACTION
                                                                                    §                   11        5071
                                                                                         NO.: _ _ _ _ _ _ _ _ _ _ __
                 v.                                                                 §
                                                                                    §
              PHILLY SHIPYARD, INC.                                                 §
              2100 Kitty Hawk Avenue                                                §
              Philadelphia, PA 19 l l 2                                             §
                 and                                                                §
              GREG TUCKER                                                           §          JCR Y TRIAL DEMANDED
              c/o PHILLY SHIPYARD, It-;C.                                           §
                 and                                                                §
              KEITH RCSSEL                                                          §
              c/o PHILLY SHIPYARD, INC.                                             §
                 and                                                                §
              SIG~AL MUTCAL INDEMNITY                                               §
              ASSOCIATION                                                           §
              I 00 Century Parkway, Suite 300                                       §
              Mount Laurel, NJ 08054                                                §
                 And                                                                §
              KARLA CARNEY                                                          §
              c/o SIG~AL MUTUAL INDEMNITY                                           §
              ASSOCIATION,                                                          §
                             Defendants.                                            §

                                                                       NOTICE TO PLEAD
                      You have been sued in court. If you wish to defend against the claims set forth in the
              following pages. You must take action within twenty (20) days after this complaint and notice
              are served, by entering a written appearance personally or by attorney and filing in writing with
              the court your defenses or objections to the claims set forth against you. You are warned that if
              you fail to do so the case may proceed without you and a judgment may be entered against you
              by the court without further notice for any money claimed in the complaint or for any other claim
              or relief requested by the plaintiff. You may lose money or property or other rights important to
              you.

                YOL' SHOULD TAKE THIS PAPER TO YOUR LA WYER AT ONCE. IF
        Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 5 of 18




 YOU DO NOT HA VE A LA WYER OR CANNOT AFFORD ONE, THEN
 GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW TO FIND
           OUT WHERE YOU CAN GET LEGAL HELP.
                           PHILADELPHIA BAR ASSOCIATION
                    LA WYER REFERRAL A..~D INFORMATION SERVICE
                                ONE READING CENTER
                         PHILADELPHIA, PENNSYLVANIA, 19107
                              TELEPHONE: (215) 238-1701

        If you are looking for an attorney in a county listed below, then contact that county bar
association's lawyer referral service (LRS) directly.

   •   Allegheny County,               •   Delaware County,                •   Montgomery
       Pittsburgh:                         Media:                              County,
       (412) 261-5555                      (610) 566-6625                      Norristown:
   •   Beaver County,                  •   Erie County, Erie:                  (610) 279-9660
       Beaver:                             (814) 459-4411                  •   Northampton
       (724) 728-4888                  •   Lackawanna                          County, Easton:
   •   Berks County,                       County, Scranton:                   (610) 258-6333
       Reading:                            (570) 969-9600                  •   Philadelphia
       (610) 375-4591                  •   Lancaster County,                   County,
   •   Blair County,                       Lancaster:                          Philadelphia:
       Hollidaysburg:                      (717) 393-0737                      (215) 238-1701
       (814) 693-3090                  •   Lehigh County,                  •   Washington
   •   Bucks County,                       Allentown:                          County,
       Doylestown:                         (610) 433-7094                      Washington:
       (215) 348-9413,                 •   Luzerne County,                     (724) 225-6710
       (800) 991-9922                      Wilkes-Barre:                   •   Westmoreland
   •   Chester County,                     (570) 822-6029                      County,
       West Chester:                   •   '.\forcer County,                   Greensburg:
       (610) 429-1500                      Mercer:                             (724) 834-8490
   •   Cumberland                          (724) 342-3111                  •   York County,
       County, Carlisle:               •   Monroe County,                      York:
       (717) 249-3166                      Stroudsburg:                        (717) 854-8755
   •   Dauphin County,                     (570) 424-7288
       Harrisburg,:
       (717) 232-7536
          Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 6 of 18




Law Office of Patrick Flanigan                                              Attorney for Plaintiff
By: Patrick Flanigan
PA Attorney No.: 92794
P.O. Box 42, Swarthmore, PA 19081-0042
Tel: (484) 904-7795 Email: Pat@lawofficepf.com

                     IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTER.~ DISTRICT OF PEN~SYLVA.~IA (Philadelphia)

ROBERT TATE                                      §
Chester, PA 19013                                §
              Plaintiff,                         §       CIVIL ACTION
                                                 §
     V.                                          §       ~O.:
                                                 §
                                                                ------------
PHILLY SHIPYARD, INC.                            §
2100 Kitty Hawk A venue                          §
Philadelphia, PA 19112                           §
   and                                           §
GREG TlJCKER                                     §               JURY TRIAL DEMANDED
c/o PHILLY SHIPYARD, INC.                        §
   and                                           §
KEITH RCSSEL                                     §
c/o PHILLY SHIPYARD, INC.                        §
   and                                           §
SIG~AL :\1CTUAL INDEMNITY                        §
ASSOC IATIO!\;                                   §
100 Century Parkway, Suite 300                   §
Mount Laurel, NJ 08054                           §
   And                                           §
KARLA CAR~EY                                     §
c/o SIGNAL :\1UTUAL IJ\;DEMNITY                  §
ASSOCIATION,                                     §
               Defendants.                       §

                                             CO :\1PLAIJ\;T

I.        INTRODL'CTION

          Robert Tate (Plaintiff), alleges violation of and seeks redress of all rights and privileges

pursuant to the Family and Medical Leave Act, as amended 2008 (FMLA), 29 U.S.C. §§ 2601 et

seq., negligence, and the illegal practice oflaw. Mr. Tate avers, through Patrick Flanigan,
        Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 7 of 18




Esquire from the Law Office of Patrick Flanigan, as follows:

II.    PARTIES

I.     Robert Tate (Plaintiff) is an adult individual who currently resides in Chester, PA. At all

       times material hereto, Plaintiff was a citizen of the United States, resided in the

       Commonwealth of Pennsylvania and an employee of Defendant Philly Shipyard, Inc.

2.     Defendant Philly Shipyard, Inc. (Philly Shipyard) is a name for a business entity

       maintaining an office and conducting business at 2100 Kitty I Iawk Avenue, Philadelphia,

       PA 19112 and at all times material hereto, the employer also transacted business in

       Philadelphia County, Pennsylvania and employed the Plaintiff.

3.     Defendant Greg Tucker (Defendant Tucker) is an adult individual, who at all times

       material hereto, was a servant, agent or employee on behalf of Defendant Philly

       Shipyard. Plaintiff further believes that Defendant Tucker is a citizen and domiciled in

       the Commonwealth of Pennsylvania.

4.     Defendant Keith Russel (Defendant Russel) is an adult individual, who at all times

       material hereto, was a servant, agent or employee on behalf of Defendant Philly

       Shipyard. Plaintiff further believes that Defendant Russel is a citizen and domiciled in the

       Commonwealth of Pennsylvania.

5.     Defendant Signal Mutual Indemnity Association, Inc. (SIGNAL) is a name for a business

       entity maintaining an office and conducting business from I 00 Century Parkway, Suite

       300, :\fount Laurel, NJ 08054 and at all times material transacted business in Philadelphia

       County, Pennsylvania.

6.     Defendant Karla Carney (Defendant Carney) is an adult individual, who at all times

       material hereto, was a servant, agent or employee on behalf of Defendant SIG;\IAL.
        Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 8 of 18




III.   JURISDICTION A~D VENUE

7.     The above paragraphs are incorporated as if set forth more fully herein.

8.     Jurisdiction is conferred upon this Honorable Court by 28 U.S.C. § 1337 relating to "any

       civil action or proceeding arising out of any act of Congress regulating commerce," 28

       C .S.C. § 1343(4 ), and 28 C .S.C. § 1331. This action is authorized and instituted pursuant

       to the Family Medical Leave Act, 29 U.S.C. §§ 2601 et seq. and the laws of the

       Commonwealth of Pennsylvania.

9.     Plaintiff obtains jurisdiction because the demand is in excess of One Hundred Fifty

       Thousand Dollars ($150,000.00) or as a federal question matter, or both.

I 0.   Venue is appropriate in the United States District Court for the Eastern District of

       Pennsylvania pursuant to 28 U.S.C. § 139l(b) because all parties regularly conduct

       business within this district and the acts complained of by Plaintiff arose in this venue.

IV.    FACTS

11.    On ;\iovember 3, 2016, Mr. Tate sustained a work injury caused by the heavy, repetitive,

       and throwing of metal scrap into a recycling bin at the Philly Shipyard. The employer's

       safety coordinator sent him to the emergency room that night and the next day to

       WorkNet for physical therapy.

12.    On -:-,.;ovember 14, 20 I 6, Work;\iet placed him "on modified duty today for no lifting

       more than 20 pounds, no crawling, no climbing ladders."

13.    On December 12, 2016, Rothman Institute further modified his work restrictions with "no

       repetitive, bending, stooping, kneeling, squatting, climbing below waist level."

14.    At no time did the Defendants provided any light or modified job duties for Plaintiff prior

       to the granting of the FMLA intermittent leave.
         Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 9 of 18




I 5.    On July 26, 20 l 7, Mr. Tate was placed on intermittent FMLA leave because of his on-

        going medical issues caused by the work injury.

16.     At no time from the date of Mr. Tate's injury through the last day of work on f\;ovember

        I, 2017 did any Defendant modify his work limitations as directed by Work.."\;et and

        Rothman Institute both being the mandatory medical providers of Defendants Philly

        Shipyard and SIG:t--;AL.

I 7.    Defendants Signal and Carney failed to notify Defendants Philly Shipyard of the medical

        necessity of providing the light or modified job duty for Plaintiff.

18.     At no time did the Defendants provide any light or modified job duties for Plaintiff even

        after the granting of the FMLA intermittent leave.

19.     On numerous occasions Mr. Tate suggested light or modified jobs but none of the

        Defendants ever discussed light or modified jobs and remained silent to his suggestions.

20.     On November 1, 2017, Mr. Tate was forced out of work because of the work injury

        because he was unable to perform the full duties of the job.


                                           COUNTI

       FAMILY AND MEDICAL LEA VE ACT, Interference, 29 G.S.C.A. § 2615(a)(l)

                            ROBERT TATE v. ALL DEFE:'.'lDA.~TS

21.     The above paragraphs are incorporated as if set forth more fully herein.

22.     Pursuant to 29 C.S.C. § 26l 1(2)(A) and 29 U.S.C. § 2612(a)(l)(D), Plaintiff was eligible

        for Family and Medical Leave.

23.     At all times material hereto, Plaintiff believes that Defendant Philly Shipyard had at least

        50 employees including volunteers for 20 or more calendar work weeks during the
                                                                                           ,

        pertinent year or the preceding year within 75-mile radius.
      Case 2:19-cv-05076-HB Document 1 Filed 10/29/19 Page 10 of 18




24.   Plaintiff was employed for at least 12 months and worked at least 1,250 hours during

      the 12 months preceding the leave of absence, or Plaintiff was otherwise qualified under

      the employer's policies.

25.   Plaintiff has statutory rights to be free from interference under the Family and Medical

      Leave Act, 29 U.S.C.A. § 261 S(a)(l ), which Defendants violated, including, but not

      limited to, the facts to be revealed through discovery and the factual allegations set forth

      above. Plaintiff claims that Defendants interfered with the FMLA right as follows:

26.   First, Plaintiff had a work injury and was granted F'.\1LA intermittent leave for medical

      conditions caused by and arising from the work injury.

27.   Second, Plaintiff has a ''serious health condition," as defined in the statute as an injury,

      impairment or physical condition that required continuing treatment by a health care

      provider that was pre-selected by Defendants Philly Shipyard, SIG:'JAL and their

      employees and agents.

28.   Third, Plaintiff gave appropriate notice for the need to be absent from work, if light or

      modified duty was not provided by Defendants Philly Shipyard, SIGNAL and their

      employees and agents.

29.   Fourth, Defendants interfered with the exercise of Plaintiff's right to unpaid leave by

      regarding full duty work and refusing to provide the light or modified duty.

30.   As a direct and proximate result of Defendants unlawful interference, the Plaintiff has

      been deprived of economic and non-economic benefits including, but not limited to, wage

      loss, pain and suffering, mental anguish, humiliation, loss of fringe benefits, painful

      embarrassment among family, friends and co-workers, disruption of personal life and loss

      of enjoyment of the ordinary pleasures of life.
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3 I.   Defendants' acts were willful, wanton, malicious, and oppressive and with reckless

       disregard for Plaintiffs federally protected rights; therefore, justifying the imposition of

       punitive damages.

32.    Plaintiff demands favorable judgment against Defendants for all equitable relief

       including, but not limited to: reinstatement to job position, full restoration of all leave and

       health benefits and any additional unpaid leave up to the maximum permitted by the

       FMLA including, but not limited to, doubling the damages proven inclusive of all wages,

       salary, employment benefits or other compensation denied or lost.

33.    Plaintiff demands favorable judgment for all interest on the monetary benefits calculated

       at the prevailing rate, an additional amount equal to those sums, as Iiquated damages

       under 29 U.S.C.A. § 2617(a)(3), fees and costs including the allowance of reasonable

       attorney fees, expert witness fees and other costs of the action and such other orders and

       further relief as may be necessary and appropriate.

34.    In addition, Defendant Philly Shipyard had an employee handbook and failed to provide

       Plaintiff the benefits provided therein.

35.    Plaintiff seeks all remedies set forth below in the WHEREFORE clause for all counts.


                                          COUNT II

       FA~11LY AND MEDICAL LEAVE ACT, Retaliation, 29 U.S.C.A. § 2615(b)

                           ROBERT TATE v. ALL DEFEND A.~TS

36.    The above paragraphs are incorporated as if set forth more fully herein.

37.    Pursuant to 29 U.S.C.§2611(2)(A) and 29 U.S.C. § 2612(a)(l)(D), Plaintiff was eligible

       for Family and Medical Leave.

38.    At all times material hereto, Plaintiff believes that Defendant Philly Shipyard had at least
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       50 employees including volunteers for 20 or more calendar work weeks during the

       pertinent year or the preceding year within 75-mile radius.

39.    Plaintiff was employed for at least 12 months and worked at least 1,250 hours during

       the 12 months preceding the leave of absence, or Plaintiff was otherwise qualified under

       the employer's policies.

40.    Plaintiff has statutory rights to be free from retaliation under the Family and Medical

       Leave Act, 29 U.S.C.A. § 26 l 5(b ), which Defendants violated, including, but not limited

       to, the facts to be revealed through discovery and the factual allegations set forth above.

4 I.   Defendants retaliated as follows:

42.    First, Plaintiff was harassed when he filed a union grievance complaint, then Plaintiff was

       denied the light or modified work duty within his medical limitations, and eventually

       Plaintiff was forced to leave the job, and finally all medical treatment and federal

       workers' compensation was denied.

43.    Second, Plaintiff was subjected to a materially adverse action at the time being denied

       light or modified work duty and after being granting FMLA was still denied the

       light/modified duty and eventually forced out of work.

44.    Third, there was a causal connection between the work injury and being forced out of a

       job.

45.    As a direct and proximate result of Defendants unlawful retaliation, Plaintiff has been

       deprived of economic and non-economic benefits including, but not limited to, wage loss,

       pain and suffering, mental anguish, humiliation, loss of fringe benefits, painful

       embarrassment among family, friends and co-workers, disruption of personal life and loss

       of enjoyment of the ordinary pleasures of life.
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         46.    Defendants' acts were willful, wanton, malicious, and oppressive and with reckless

                disregard for Plaintiffs federally protected rights; therefore, justifying the imposition of

                punitive damages.

         47.    Plaintiff demands favorable judgment against Defendants for all equitable relief

                including, but not limited to: reinstatement to job position, full restoration of all leave and

                health benefits and any additional unpaid leave up to the maximum permitted by the

                FMLA including, but not limited to, doubling the damages proven inclusive of all wages,

                salary, employment benefits or other compensation denied or lost.

         48.    Plaintiff further demands favorable judgment for all interest on the monetary benefits

                calculated at the prevailing rate, an additional amount equal to those sums, as liquated

                damages under 29 U.S.C.A. § 2617(a)(3), fees and costs including the allowance of

                reasonable attorney fees, expert witness fees and other costs of the action and such other

                orders and further relief as may be necessary and appropriate.

         49.    In addition, Defendant Philly Shipyard had an employee handbook and failed to provide

                Plaintiff the benefits provided therein.

         50.    Plaintiff seeks the remedies set forth below in the WHEREFORE clause for all counts.



                                                    COUNT III

                                    FA.'\11LY AND MEDICAL LEA VE ACT

               Pretext Discrimination without discriminatory animus, 29 U.S.C.A. § 2615(a)(2)

                                    ROBERT TATE v. ALL DEFENDANTS

         51.    The above paragraphs are incorporated as if set forth more fully herein.

         52.    Pursuant to 29 C.S.C. § 2611(2)(A) and 29 U.S.C. § 2612(a)(l)(D), Plaintiff was eligible
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      for Family and Medical Leave.

53.   At all times material hereto, Plaintiff believes that Defendant Philly Shipyard had at least

      50 employees including volunteers for 20 or more calendar work weeks during the

      pertinent year or the preceding year within 75-mile radius.

54.   Plaintiff was employed for at least 12 months and worked at least 1,250 hours during

      the I 2 months preceding the leave of absence, or Plaintiff was otherwise qualified under

      the employer's policies.

55.   Plaintiff has statutory rights to be free from pretext discrimination under the Family and

      Medical Leave Act, 29 U.S.C.A. § 2615(a)(2), which Defendants violated, including, but

      not limited to, the facts to be revealed through discovery and the factual allegations set

      forth above.

56.   In this case :vlr. Tate was discriminated against for exercising the right to unpaid leave

      under the F:vlLA.

57.   As a direct and proximate result of Defendants unlawful pretext discrimination, the

      Plaintiff has been deprived of economic and non-economic benefits including, but not

      limited to, wage loss, pain and suffering, mental anguish, humiliation, loss of fringe

      benefits, painful embarrassment among family, friends and co-workers, disruption of

      personal life and loss of enjoyment of the ordinary pleasures of life.

58.   Defendants' acts were willful, wanton, malicious, and oppressive and with reckless

      disregard for Plaintiff's federally protected rights; therefore, justifying the imposition of

      punitive damages.

59.   Plaintiff demands favorable judgment against Defendants for all equitable relief

      including, but not limited to: reinstatement to job position, full restoration of all leave and
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      health benefits and any additional unpaid leave up to the maximum permitted by the

      FMLA including, but not limited to, doubling the damages proven inclusive of all wages,

      salary, employment benefits or other compensation denied or lost.

60.   Plaintiff further demands favorable judgment for all interest on the monetary benefits

      calculated at the prevailing rate, an additional amount equal to those sums, as liquated

      damages under 29 U.S.C.A. § 26 I 7(a)(3), fees and costs including the allowance of

      reasonable attorney fees, expert witness fees and other costs of the action and such other

      orders and further relief as may be necessary and appropriate.

61.   In addition, Defendant Philly Shipyard had an employee handbook and failed to provide

      Plaintiff the benefits provided therein.

62.   Plaintiff seeks the remedies set forth below in the WHEREFORE clause.


                                           COUNTIV

                                           Negligence

           ROBERT TATE v. ALL DEFENDANTS SIGNAL AND CARNEY

63.   The above paragraphs are incorporated as if set forth more fully herein.

64.   Defendants SIGNAL and Camey took on the duty to provide the medical treatment for

      Mr. Tate and exclusively controlled access of that medical treatment including the

      available providers.

65.   Defendants SIGNAL and Camey knew or should have known of the work limitations

      imposed upon Mr. Tate by his medical providers.

66.   Mr. Tate notified Defendants SIGNAL and Camey of the work limitations on numerous

      occasions over the course on one-year or longer.

67.   Defendants SIGNAL and Camey told Mr. Tate that the work limitations would be
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           provided, but never were provided.

     68.   Defendants SIGNAL and Carney failed to notify Defendants Philly Shipyard, Tucker,

           and Russel of the work limitations.

     69.   Defendants SIG;'liAL and Carney terminated Mr. Tate's medical treatment on November

           l, 2017.

     70.   Defendants SIGNAL and Carney failed to act on behalf of Mr. Tate and as a consequence

           forced Mr. Tate out of work.

     71.   Plaintiff seeks the remedies set forth below in the WHEREFORE clause.


                                                 COUNTV

                                          Illegal Practice of Law

                            ROBERT TATE v. DEFENDA~T CARNEY

     72.   The above paragraphs are incorporated as if set forth more fully herein.

     73.   Defendant Camey exclusively controlled Mr. Tate's access to medical providers.

     74.   Defendant Camey counseled Mr. Tate of his duties and obligations under the Longshore

           and Harbor Workers' Compensation Act (LHWCA), 33 U.S.C. §§ 928 et seq. but only

           for the benefit of Defendants SIGNAL and Philly Shipyard.

     75.   Vnder section 702.406(a) of the LHWCA "consent may be given [by Defendant Camey]

           upon a showing of good cause for change" of a physician by Mr. Tate.

     76.   From the time of the work injury on November 3, 2016, Defendant Camey had been Mr.

           Tate's only counselor and advisor and never suggested he seek legal advice and when

           Mr. Tate did obtain further medical treatment, Defendant Carney did not notify Mr. Tate

           that pre-approval was necessary.

     77.   When Mr. Tate contacted Defendant Camey to discuss the change of physician, she
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       refused to talk with him.

78.    Defendant Carney counselled :Vlr. Tate on the LHWCA but only towards the interest and

       benefits of Defendants SIGNAL and Philly Shipyard.

79.    Defendant Carney in the interest of Defendants SIGNAL and Philly Shipyard did not

       advocate for the light/modified work duty.

80.    Defendant Carney in the interest of Defendants SIG:'-iAL and Philly Shipyard denied

       medical treatment for Mr. Tate.

81.    Defendant Carney in the interest of Defendants SIGNAL and Philly Shipyard denied

       workers' compensation payment of Mr. Tate.

82.    Mr. Tate seeks the remedies set forth below in the WHEREFORE clause.



       WHEREFORE, :Vlr. Tate seeks a jury trial against all Defendants for all past and present

wages, salary, employment benefits or other compensation denied or lost by reason of the

violations. Further, Plaintiff seeks punitive damages plus counsel fees, costs and other relief as

deemed appropriate by the Court.

Respectfully submitted,


Date: October 28, 2019.


                                              E-Signature Validation Code:
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                                        VERIFICATIO:'l

       I, Robert Tate, am the Plaintiff in the above captioned matter and affirm that the

information contained in the foregoing Complaint is true and correct to the best of my

knowledge, information and belief after reasonable inquiry. I declare (or certify, verify, or state)

under penalty of perjury that the foregoing is true and correct to the best of my knowledge,

information and belief after reasonable inquiry. The undersigned understands verifications

herein are made subject to 28 U.S.C. § 1746.

Date: October _/J?       _, 2019.                     By:     -~~-
                                                              Robert Tate
                                                              Chester, PA



                                        VERIFICATION

       I, Patrick .Flanigan, verify that I am the attorney for the Plaintiff in the above captioned

matter and that the information contained in the foregoing Complaint is true and correct to the

best of my knowledge, information and belief after reasonable inquiry. The undersigned

understands verifications herein are made subject to 28 U.S.C. § 1746.

                     ~
Date: October¢8' 2019.                    By: ls/Patrick .Flanig"',0..,JL. /)
                                              Patrick Flanigan~./~
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                                              Federal Court - Eastern District of P
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